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OF TEXAS



NO. WR-53,296-17




IN RE PERCY LEE FOREMAN, Relator




ON APPLICATION FOR A WRIT OF MANDAMUS
CAUSE NO. 693683 IN THE 338TH  DISTRICT COURT
FROM HARRIS COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O R D E R

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court.  In it, he contends that he filed an application for a writ of
habeas corpus in the 338th District Court of Harris County, that more than 35 days have elapsed, and
that the application has not yet been forwarded to this Court.  This Court’s records reflect that the
district court entered an order designating issues on April 20, 2012.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Respondent, the Judge of the 338th District Court of Harris County, shall file a response with
this Court by having the District Clerk submit the record on such habeas corpus application.  In the
alternative, Respondent may resolve the issues set out in the order designating issues and then have
the District Clerk submit the record on such application.  In either case, Respondent’s answer shall
be submitted within 30 days of the date of this order.  This application for leave to file a writ of
mandamus will be held in abeyance until Respondent has submitted his response.
&nbsp;
Filed: April 9, 2014
Do not publish&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;


